Case 1: 05- -c\/- -01079- .]DT- STA Document 10 Filed 05/17/05 Page 1 of/§Z/) PagelD 4

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lN THE UN|TED STATES DlSTR|CT COURT FOR THE WESTER|\{%:§}§TR|CT \ /)/,

 

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Lr‘{//‘/\|F ://{;
Plaintiff, "
-\/s- * civii Action No.05-1079-T/AN

Honorab|e James D. Todd Presiding
GREYHOUND L|NES, ll\lCl a DELAWARE * l\/lagistrate S. Thomas Henderson
CORPORAT|ON and ARC |NTERNATlONAL/
TRANS USA CORPORATiON and ALEX YU
CHANG,

Defendants. *

 

ORDER ALLOWING SECOND AMENDED COMPLAlNT

 

Upon l\/lotion of the plaintiff, upon review of the record, and for good cause shown, it

is hereby:

ORDERED that the plaintiff, Teresa Smith, shall be allowed to tile the Second
Amended Complaint attached to the Nlotion to Amend Complaint and process shall issue and
be served and that this Amendment shall relate back to the date of the original filing pursuant

to Ru|e 15 of the Federai' Rules of C."vii' Procedure.

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This document entered on the docket sheet l co lla}oo /@
with nuie ss and:or_rs (a) Fi=icP on § 22 iii 2

Case 1:05-cv-OlO79-.]DT-STA Document 10 Filed 05/17/05 Page 2 of 4 Page|D 5

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APPROVED FOR ENTRY:

H|LL ' BOREN, P.C.

    

; g ' f
1269 . High|and Ave.
P.O. Box 3539
Jackson, Tennessee 38303-3539

CERTiFiCATE OF SERV|CE

The undersigned hereby certifies that he is attorney of record for plaintiff and has
served a true and correct copy of the foregoing pleading by United States Nlail, postage paid,
to Ed Wa||is at his last known address of 325 North Parkway, P.O. Box 3897
Jackson, Tennessee 38303-3897.

This the /_ H y of , 2005.

H|LL ~ BOREN P.C.

 

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m§ Case 1: 05- -C\/- -01079- .]DT- STA Document 10 Filed 05/17/05 Page 3 of 4 P D 6
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' |N THE UN|TED STATES DlSTRlCT COURT FOR THE WESTERN DlST§fC`/T "\\ 0/_'

OF TENNESSEE, EASTERN DlVlSlON ~ t _ '

 

 

TERESA SNllTH, *
P|aintiff, *
-VS- * Civil Action No.OB-‘l()?Q-T/AN

Honorab|e James D. Todd Presiding
GREYHOUND L|NES, |NC, a DELAWARE * Nlagistrate S. Thomas Henderson
CORPORAT|ON and ARC |NTERNAT|ONAL/
TRANS USA CORPORAT|ON and ALEX VU
CHANG,

Defendants. *

 

SECOND AMENDED COMPLA[NT AND DEMAND FOR JURY TRlAL

 

Now comes the plaintiff, Teresa Smith, by and through her attorneys, HilI-Boren, PC
and The Law Oft`ices of Brent A. Schnitzer, PC, and for her causes of action against the above
named defendants states unto this Honorab|e Court as follows:

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JURISD|CT|ON. VENUE AND ALLEGAT|ONS

‘l. The plaintiff, Teresa Smith, is a residence citizen of the city of Wyandotte,
Wayne County |Vlichigan.
2. The defendant, Greyhound Lines, |nc. is a public transportation corporation,

duly authorized and licensed to do business in the state of l\/lichigan, the
state of Tennessee, and does business in the County of Wayne, specifically
at 112 Sixth Fourth Street, Lincoln Park, lVlichigan 48146, and whose

registered agent is The Corporation Company, 30600 Telegraph Road,

    
   

   

UNIED 'S,AT'TES DITRICT OURT - WESTRN

    

DTRCTISI oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01079 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed.

 

 

.1 effrey P. Boyd

H[LL BOREN

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.1 ohn T. Eads

KOPKA PINKUS

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Ste. 200

Farmington Hills7 1\/11 48334--333

Honorable .1 ames Todd
US DISTRICT COURT

